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               EXHIBIT 6
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

MISH INT’L MONETARY INC.,
on behalf of itself and
all others similarly situated,                      Case No. 20-cv-04577

                  Plaintiff,

       v.                                           Hon. Manish S. Shah

VEGA CAPITAL LONDON, LTD., et al.,

                  Defendants.


                                  JOINT STATUS REPORT


       Plaintiff Mish International Monetary Inc. and Defendants Vega Capital London Ltd.

(“Vega”), Adrian Spires (together with Vega, the “Vega Defendants”), and Paul Commins, George

Commins, Christopher Roase, Elliott Pickering, Aristos Demetriou, Connor Younger, James

Biagioni, Henry Lunn, Paul Sutton, and Matthew Rhys Thompson (collectively, the “Trader

Defendants”) respectfully submit this joint status report pursuant to the Court’s March 12, 2024

Order directing the parties to file a status report by July 12, 2024 summarizing the discovery

completed to date and identifying issues that may require court intervention. ECF No. 316.

  I.   Case Schedule

       On January 27, 2023, the Court set a discovery and class certification schedule for this

Action, ECF No. 201, in response to the parties’ joint initial status report, ECF No. 196, and

Defendants’ motion to bifurcate class certification and merits discovery, ECF No. 198. Plaintiff’s

motion for class certification, ECF No. 303, and Defendants’ motion to exclude expert testimony,

ECF No. 353, are now pending before the Court, with Plaintiff’s reply on class certification and

response to the motion to exclude due on September 3, 2024. ECF Nos. 328, 362. No reply is


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permitted on Defendants’ motion to exclude unless requested by the Court. ECF No. 362. The

deadline for completion of all fact discovery, including foreign discovery, is December 30, 2024.

ECF No. 201. The Court stated that it “will set deadlines for amendment of the pleadings, merits

expert discovery, and dispositive motions when the parties get closer to completing fact

discovery.” ECF No. 201.

 II.   Discovery Progress

       Since the filing of the last joint status report on March 1, 2024, ECF No. 315, Plaintiff and

Defendants have continued to engage in both party and non-party discovery. The parties intend to

take additional discovery before the December 30, 2024 fact discovery cut-off.

           a. Document Productions

       There have been an additional 20 document productions since March 1, 2024. Plaintiff

Mish made two productions regarding communications and documents involving Plaintiff’s IT

consultant, Alan Paul. The parties have received ten productions from storage companies in

Cushing, Oklahoma in response to Plaintiff’s subpoenas. The parties have received an additional

nine productions from April 2020 market participants in response to the Vega Defendants’

subpoenas. The parties also received a supplemental production from the CME.

           b. Depositions

       Defendants took two depositions during this period. First, on April 23, 2024, the

Defendants deposed Plaintiff’s IT consultant, Alan Paul. Second, on May 14-15, 2024, Defendants

deposed Plaintiff’s expert, Professor Craig Pirrong, in connection with Professor Pirrong’s May

10, 2024, amended class certification expert report. ECF No. 324.

       On July 9, 2024, Plaintiff informed counsel for the Trader Defendants that it intends to

depose, prior to October 31, 2024, the six Trader Defendants who have not yet been deposed. On



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July 10, counsel for the Trader Defendants informed Plaintiff they would confer with the clients

and get back to Plaintiff with available dates and locations. This morning (July 12), counsel for

the Trader Defendants informed Plaintiff that they are conferring with their clients about dates and

locations for these depositions but have not agreed that these depositions will occur before October

31, 2024, or prior to a ruling on their substantial objections to class certification. Having had only

three-days’ notice of Plaintiff’s intent to conduct these depositions by October 31, 2024, counsel

has not yet had a full opportunity to discuss the scheduling issue with their clients.

       Plaintiff’s position is as follows.    First, the Court has already ruled on and denied

Defendants’ request to stay merits discovery until after class certification is decided. Compare

ECF No. 198 (requesting stay) with ECF No. 201 (Order denying stay). Second, Defendants’

renewed request for a stay is contrary to the Court’s Scheduling Order that provides all fact

discovery (including “merits” discovery) must be completed by December 30, 2024. ECF No.

201. Third, a stay is also contrary to Defendants’ own ongoing conduct in pursuing substantial

merits discovery from twenty-eight (28) market participants. ECF No. 311 at 36-40. Defendants’

motions to compel expressly acknowledge the discovery they are seeking is “merits” discovery.

E.g., ECF No. 312, Ex. 22 at 5, 9. Fourth, under the Court’s Scheduling Order, Plaintiff needs to

complete the remaining six Trader Defendant depositions before the end of October to give

Plaintiff sufficient time to fairly analyze whether follow up discovery requests need to be issued

and, if so, prepare and notice such discovery requests in time for completion by the December 30

fact discovery cut-off. ECF No. 201 (Scheduling Order). Fifth, this action will be four years old

next month and Plaintiff believes it is important to hold the remaining Trader Defendant

depositions, and pursue any follow up discovery, as close to the underlying events in April 2020

as is consistent with this Court’s Scheduling Order. In that regard, Plaintiff respectfully submits



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it has followed the Court’s directive to “prioritize” class certification discovery. ECF No. 201.

However, class certification will be fully briefed in September and merits discovery is scheduled

to close in December. Accordingly, if this issue cannot be resolved after meeting and conferring

with counsel for the Trader Defendants, Plaintiff intends to seek a Court order that directs the

Trader Defendants to appear for deposition by the end of October.

       The Vega Defendants noticed two other Rule 30(b)(6) depositions of Shell Trading (U.S.)

Company ("Shell") and BP Products North America, Inc. (“BP”) for May 21 and 23, 2024,

respectively. Both companies moved to quash the deposition subpoenas in, respectively, the U.S.

District Court for the Southern District of Texas and the U.S. District Court for the Northern

District of Illinois. Shell's motion to quash has been transferred from the Southern District of

Texas to this Court, and the Court has granted a motion to reassign the matter (which is currently

pending approval from the Executive Committee). The Vega Defendants have responded to Shell's

motion, and Shell's reply brief is due on July 24, 2024. Shell Trading (U.S.) Company v. Vega

Capital London Limited, et al., Civil Action No. 1:24-cv-5206 (N.D. Ill.). The motion to quash

filed by BP Products North America, Inc. has been reassigned to this Court and has been fully

briefed. BP Products North America, Inc. v. Vega Capital London Ltd. et al., 1:24-cv-04226 (N.D.

Ill.). The Vega Defendants anticipate taking further depositions of large third party traders and, to

avoid unnecessary motion practice, intend to serve the deposition subpoenas following the Court's

decision on the Shell and BP motions to quash.

           c. Outstanding Subpoenas

       The Vega Defendants issued 28 subpoenas to large companies trading WTI on NYMEX in

April 2020. As of the date of this filing, the parties have received partial or complete productions

from 23 out of the 28 subpoena recipients. The Vega Defendants are still negotiating with the



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parties that have only made partial productions. Following the Court's decision on May 30, 2024,

ECF 338, Vitol Inc. made a production of documents on July 3, 2024. Glencore Ltd. requested,

and the Vega Defendants agreed, that Glencore Ltd. would have until July 16, 2024 to produce

documents covered by the Court's order.

       ExxonMobil Oil Corporation (“ExxonMobil”) has informed the Vega Defendants that it

does not intend to produce any documents in response to the subpoena served by the Vega

Defendants, including any documents covered by the Court's order of May 30, 2024. The Vega

Defendants are preparing a motion to compel ExxonMobil and intend to file it in the United States

District Court for the Southern District of Texas (the place of performance under the subpoena)

while seeking to transfer the matter to this Court for resolution. ExxonMobil is considering

whether it will consent to the motion to transfer that miscellaneous action to this Court.

       Plaintiff issued eighteen Rule 45 document subpoenas to Cushing, Oklahoma oil storage

and pipeline companies and has received partial or complete productions in response to twelve

such subpoenas. Plaintiff is continuing to work through open issues with the remaining subpoenas.

           d. Other Discovery

       On June 26, 2024, the Trader Defendants produced the backup materials for the June 20,

2024 Expert Report of Professor Terrence Hendershott in accordance with the expert stipulation

and order. ECF No. 238. The Trader Defendants have also offered to schedule Professor

Hendershott’s deposition at any time during the week of July 29-August 2, or for a later date in

August, subject to his teaching schedule.

       Plaintiff is continuing its review of the backup materials produced by the Trader

Defendants (approximately 90 GB of data) and will confer with the Trader Defendants about

mutually convenient dates for Professor Hendershott’s deposition. Plaintiff has requested the



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Trader Defendants disclose: (a) the total hours Professor Hendershott has billed in connection with

the preparation of his report; (b) any other consideration or compensation received or to be

received by Professor Hendershott and/or Cornerstone Research (who assisted Professor

Hendershott); and (c) Cornerstone’s rate and total hours billed to date in this matter. Counsel for

the Trader Defendants stated they would take the request under advisement.

III.   Issues Requiring Court Intervention

       Apart from the non-party motion practice already taking place before the Court or

otherwise described above, no disputes require the Court’s assistance at this time. Plaintiff and

the Vega Defendants are currently meeting and conferring about discovery issues raised by

Plaintiff, which may or may not result in future motion practice. Plaintiff requested a meet and

confer with the Trader Defendants to discuss five emails between certain Trader Defendants that

Vega and Spires withheld from their document production based on certain privilege assertions by

the Trader Defendants. As noted above, the parties intend to take additional discovery before the

December 30, 2024 fact discovery cut-off.

Dated: July 12, 2024                             Respectfully submitted,




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